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                                                          令和 3 年 2 月 25 日
   関係者各位


                                            再生債務者 株式会社 MTGOX
                                            再生管財人 弁護士 小 林 信 明


                         再生計画案の付議決定について


    令和 2 年 12 月 15 日付け「再生計画案の提出に関するお知らせ」にてお知ら
   せしましたとおり、再生管財人は令和 2 年 12 月 15 日、東京地方裁判所に再生
   計画案を提出いたしました。
    その後、再生管財人は、令和 3 年 2 月 15 日に修正版の再生計画案（以下、修
   正後の再生計画案を「本再生計画案」といいます。）を、同月 19 日に本再生計画
   案の別表の訂正書をそれぞれ東京地方裁判所に提出いたしました。
    また、調査委員は、令和 3 年 2 月 16 日、東京地方裁判所に対して、本再生計
   画案について、民事再生法 174 条 2 項に定める再生計画不認可事由はなく、そ
   の他に不当な点もないとの結論が記載された調査報告書を提出いたしました。


    以上の経緯を経て、東京地方裁判所は、令和 3 年 2 月 22 日付けで、本再生計
   画案を決議に付する旨の決定（以下「付議決定」といいます。）をいたしました。
   今後、債権者の皆様に、付議された本再生計画案について賛否の投票をしていた
   だくこととなります。


     付議決定により定められた今後のスケジュールは下記のとおりです。


   ①   議決権者確定の基準日                            令和 3 年 3 月 24 日（水）
   ②   議決権不統一行使通知期限日                         令和 3 年 9 月 10 日（金）
   ③   オンライン投票・書面投票期限日                       令和 3 年 10 月 8 日（金）
   ④   本再生計画案の決議のための債権者集会                    令和 3 年 10 月 20 日（水）14 時～


    本再生計画案に投票することのできる債権者は、議決権を有する債権者のう
   ち、議決権者確定の基準日（上記①）において、再生債権者表に記録されている
   再生債権者となります。
    本再生計画案に投票する方法は、（A）オンライン投票、
                             （B）書面投票（議決票
   の郵送による投票）又は（C）債権者集会期日（上記④）における投票の 3 つの
   方法があり、議決権を有する債権者の皆様にいずれかの方法を選択していただ

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   くことになります。


    本再生計画案への投票の具体的な方法、開始時期等については、追って MTGOX
   のウェブサイト等にて債権者の皆様にお知らせする予定です。


    なお、民事再生法上、付議決定後には、再生債権の新規の届出はできませんの
   でご留意ください。


    皆様におかれましては、引き続き、本件民事再生手続にご理解、ご協力を賜り
   ますよう、宜しくお願い申し上げます。



                                                                       以上




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                                                                              February 25, 2021
   To whom it may concern:


                                                  Rehabilitation Debtor: MtGox Co., Ltd.
                                                  Rehabilitation Trustee: Nobuaki Kobayashi,
                                                  Attorney-at-law


                   Order to Refer Draft Rehabilitation Plan to Resolution

     As announced in the “Announcement of Filing of Draft Rehabilitation Plan” dated
   December 15, 2020, the Rehabilitation Trustee filed a draft rehabilitation plan with the
   Tokyo District Court on December 15, 2020.
     Thereafter, the Rehabilitation Trustee filed with the Tokyo District Court a revised
   draft rehabilitation plan (hereinafter, the revised draft rehabilitation plan is referred to as
   the “Draft Rehabilitation Plan”) on February 15, 2021, and a written revision to
   schedules (lists of allowed and disputed rehabilitation claims as of the last day of March
   2020) of the Draft Rehabilitation Plan on February 19, 2021.
     On February 16, 2021, the examiner filed an examination report with the Tokyo District
   Court, stating that there were no grounds for disapproving the Draft Rehabilitation Plan
   as provided in Article 174, Paragraph 2 of the Civil Rehabilitation Act, and that there
   were no other unreasonable grounds.


     Following the proceedings above, on February 22, 2021, the Tokyo District Court
   made an order to refer the Draft Rehabilitation Plan to a resolution (the “Order”).
   Rehabilitation creditors will be asked to vote to agree or disagree with the Draft
   Rehabilitation Plan.


     The following is the schedule prescribed by the Order:

     (1) Record date for determining voting rights holders: March 24, 2021 (Wednesday)
     (2) Deadline for notice of non-uniform exercise of voting rights: September 10, 2021
         (Friday)
     (3) Deadline for online voting and voting by mail: October 8, 2021 (Friday)
     (4) Creditors’ meeting for resolution on the Draft Rehabilitation Plan: October 20,
         2021 (Wednesday), from 14:00 onwards



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     Rehabilitation creditors who are eligible to vote on the Draft Rehabilitation Plan will
   be those indicated on the list of rehabilitation creditors as of the record date for
   determining voting rights holders (see (1) above).
     There are three methods of voting on the Draft Rehabilitation Plan: (A) online voting,
   (B) voting by mailing a voting form, or (C) voting in person on the date of the creditors’
   meeting (see (4) above), and rehabilitation creditors with voting rights will be asked to
   choose one of these methods.


     The specific method and timing of voting on the Draft Rehabilitation Plan will be
   announced to rehabilitation creditors via MTGOX’s website and other means.


     Please note that, in accordance with the Civil Rehabilitation Act, new proofs of
   rehabilitation claims cannot be filed after the Order is made.

     We kindly ask for your continued understanding and cooperation in the civil
   rehabilitation proceedings.


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